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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
                                   Case 1:19-cr-00018-ABJ

__________________________________
                                             )
UNITED STATES OF AMERICA,                    )
                                             )
       v.                                    )
                                             )
ROGER J. STONE, JR.,                         )
                                             )
                        Defendant.           )
__________________________________           )


                                NOTICE OF APPEARANCE

       The Clerk of the Court will please enter the appearance of undersigned counsel Paul D.

Kamenar as additional counsel to Defendant in the above-captioned case.

                                            Respectfully submitted,

                                             /s/ Paul D. Kamenar
                                             Paul D. Kamenar
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                                             Attorney for Defendant



                                CERTIFICATE OF SERVICE

I hereby certify that on this 24th day of April 2020, the foregoing Notice of Appearance was
                       Electronic Case Filing System upon all parties of record.


                                            /s/Paul D. Kamenar
